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UNITED STATES DISTRICT CoURT mo BY .. °-°-

FOR THE _ `
WESTERN DISTRICT 0F TENNESSEE 05 JUL -8 PH_ \*‘ 93

   

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UNITED STATES OF AMERICA

vs.
CR. NO. 05-20250-M1

vvdiwv

ER|CA MlLLER,

APPL|CATION ORDER and WR|T FOR HABEAS CORPUS AD PROSE UENDUM

 

Camii|e R. McMullen, Assistant United States Attorney applies to the Court for a Writ to
have Erica Mil|erl R&l # 269937, DOB 11l15l1979, SSN XXX-XX-XXXX, now being detained at
the Shelby County Correctiona! Center, Memphis, Tennes_see, to appear before the
Honorable U.S. Magistrate Judge Thomas S. Anderson, Ju|y14, 2005, at 2:00 p.m., an initial
appearance and for such other appearances as this Court may direct.

Respectfu||y submitted this 8th day of July, 2005.

@@/Ma

Assistant U. S. Attorn\'ey

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Upon consideration of the foregoing Application,
DAV|D G. JOLLEY, U.S. MARSHAL, WEsTERN DlsTRlcT oF TENNEssEE, MEMPHls, TN AND
GEORGE L|TTLE, WARDEN.

YOU ARE HEREBY COMMANDED to have ER|CA MlLLER, appear before the HONORABLE U.S.

MAG|STRATE JUDGE THOMAS S. ANDERSON on the date and time aforementioned

ENTERED this §+h day of ?/ML? 9 2005.

U.S. MAG|STRATE JUDGE

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Thls document entered on the docket sheet m crown
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UNITED SASTE DSTRIC COURT - WESTER DISTRICT TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

